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2    Folsom, CA 95630
     Telephone: 916-732-7150
3
     Attorneys for Defendant
4    Jose Arias
5
6                                IN THE UNITED STATES DISTRICT COURT
7                          FOR THE EASTERN DISTRICT OF CALIFORNIA
8
9                                                   ) Case No.: 2:08 CR 562 EJG
     UNITED STATES OF AMERICA,                      )
10                                                  ) STIPULATION AND ORDER
                    Plaintiff,                      ) CONTINUING SENTENCING HEARING
11                                                  )
            v.                                      )
12                                                  )
     JOSE GONZALES ARIAS,                           )
13                                                  )
                    Defendant.                      )
14
            Defendant JOSE GONZALES ARIAS, by and through his attorney, Michael Chastaine
15
     and the United States, by and through Assistant United States Attorney Richard Bender, hereby
16
     stipulate and agree to continue the sentencing hearing in the above-captioned case from Friday,
17
     May 6, 2011 at 10:00 a.m. to Friday, May 20, 2011 at 10:00 a.m. The continuance is requested
18
     to allow Mr. Arias to reply to the government’s response to the defendant’s objections to the
19
     Presentence Report.
20
21   Dated: May 3, 2011                           The CHASTAINE LAW OFFICE

22                                                By: ____/s/ Michael Chastaine
23                                                       MICHAEL CHASTAINE
                                                         Attorney for Jose Arias
24
     Dated: May 3, 2011                           Benjamin B. Wagner
25                                                United States Attorney
26
                                                  By: ___/s/ Richard J. Bender
27                                                       Richard J. Bender
                                                         Assistant U.S. Attorney
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1
2
3                                               ORDER

4           GOOD CAUSE APPEARING, in that it is the stipulation of the parties:

5           IT IS HEREBY ORDERED that the status conference scheduled for Friday, May 6, 2011

6    at 10:00 a.m. be continued to Friday, May 20, 2011 at 10:00 a.m. and that the period from May

7    6, 2011 to May 20, 2011 is excludable from calculation under the Speedy Trial Act pursuant to

8    18 U.S.C. §3161(h)(8)(A).

9
10   Dated: May 3, 2011                           /s/ Edward J. Garcia
                                                  Edward J. Garcia
11                                                Senior District Judge
12                                                United States District Court

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